         Case 1:22-cr-00096-CKK Document 113 Filed 10/14/22 Page 1 of 8




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                 Holding a Criminal Term
                            Grand Jury Sworn in on May 18, 2022

UNITED STATES OF AMERICA          :                 CRIMINAL NO. 22-cr-96 (CKK)
                                  :
           v.                     :                 VIOLATIONS:
                                  :
LAUREN HANDY,                     :                 COUNT 1: 18 U.S.C. § 241
                                  :                 (Conspiracy Against Rights)
JONATHAN DARNEL,                  :
                                  :                 COUNT 2: 18 U.S.C. §§ 248(a)(1), 2
JAY SMITH (aka JUANITO PICHARDO), :                 (Clinic Access Obstruction)
                                  :
PAULA “PAULETTE” HARLOW,          :
                                  :
JEAN MARSHALL,                    :
                                  :
JOHN HINSHAW,                     :
                                  :
HEATHER IDONI,                    :
                                  :
WILLIAM GOODMAN,                  :
                                  :
JOAN BELL, and                    :
                                  :
HERB GERAGHTY                     :
                                  :
           Defendants.            :

                            SUPERSEDING INDICTMENT

       The Grand Jury for the District of Columbia charges that at times material to this

superseding indictment, on or about the dates and at the approximate times stated below:

                                          Introduction

       1.     The Clinic was a provider of women’s reproductive health services, including

abortions, in the District of Columbia. The Clinic provided services on an appointment-only basis.
         Case 1:22-cr-00096-CKK Document 113 Filed 10/14/22 Page 2 of 8




       2.      The following individuals conspired with one another and with others known and

unknown to obstruct access to the Clinic on October 22, 2020:

       a. LAUREN HANDY, an individual from Virginia;

       b. JONATHAN DARNEL, an individual from Virginia

       c. JAY SMITH (also known as JUANITO PICHARDO), an individual from New York;

       d. PAULETTE HARLOW, an individual from Massachusetts;

       e. JEAN MARSHALL, an individual from Massachusetts;

       f. JOHN HINSHAW, an individual from New York;

       g. HEATHER IDONI, an individual from Michigan;

       h. WILLIAM GOODMAN, an individual whose last known address was in Wisconsin;

       i. JOAN BELL, an individual from New Jersey; and

       j. HERB GERAGHTY, an individual with a last known address in Pennsylvania.

       3.      Nurse K was a nurse employed by the Clinic and was at work on the morning of

October 22, 2020.

       4.      Medical Specialist H was a medical specialist employed by the Clinic and was at

work on the morning of October 22, 2020.

       5.      Clinic Administrator B was the Clinic administrator and was at work on the morning

of October 22, 2020.

       6.      Patient A was a Clinic patient who was seeking to obtain reproductive health

services at the Clinic on October 22, 2020.

                                        COUNT ONE
                                        18 U.S.C. § 241
                                  (Conspiracy Against Rights)




                                                2
           Case 1:22-cr-00096-CKK Document 113 Filed 10/14/22 Page 3 of 8




          7.    The allegations contained in Paragraphs 1 through 6 of this indictment are realleged

and incorporated herein by reference.

          8.    From October 7, 2020, to October 22, 2020, in the District of Columbia and

elsewhere, the defendants,

                                       LAUREN HANDY,
                                     JONATHAN DARNEL,
                                         JAY SMITH,
                                     PAULETTE HARLOW,
                                      JEAN MARSHALL,
                                       JOHN HINSHAW,
                                       HEATHER IDONI,
                                     WILLIAM GOODMAN,
                                       JOAN BELL, and
                                      HERB GERAGHTY

did willfully combine, conspire, and agree with one another, and with other persons known and

unknown, to injure, oppress, threaten, and intimidate patients and employees of the Clinic in the

District of Columbia in the free exercise and enjoyment of the rights and privileges secured to them

by the laws of the United States—namely, the right to obtain and seek to obtain, and to provide and

seek to provide, reproductive health services, as provided by 18 U.S.C. § 248(c)(1).

                                    Purpose of the Conspiracy

          9.    It was the purpose of the conspiracy to create a blockade to stop the Clinic from

providing, and patients from obtaining, reproductive health services.

                                        Manner and Means

          10.   The conspiracy was carried out through the following manner and means, among

others:

          a.    The conspirators communicated with one another in advance;

          b.    The conspirators traveled to the District of Columbia from other states;



                                                 3
           Case 1:22-cr-00096-CKK Document 113 Filed 10/14/22 Page 4 of 8




          c.    The conspirators used deception to gather information about and gain access to the

Clinic;

          d.    The conspirators used force to enter the Clinic and to obstruct access to and the

functioning of the Clinic; and,

          e.    The conspirators brought tools to barricade themselves inside the Clinic, including

ropes and chains.

                                            Overt Acts

          11.   In furtherance of the conspiracy, and to accomplish the objects of the conspiracy,

the conspirators committed various overt acts, including, but not limited to, the following:

          12.   HANDY used her mobile phone to call and text several co-conspirators between

October 7, 2020, and October 22, 2020, to organize and plan a blockade at the Clinic.

          13.   DARNEL used his mobile phone to call and text several co-conspirators between

October 15, 2020, and October 22, 2020.

          14.   On October 13, 2020, HANDY procured a monetary donation to pay for a lodging

reservation in the District of Columbia that HANDY made for herself and GERAGHTY.

          15.   HANDY made that lodging reservation through Airbnb, Inc., at 133 Quincy Place

NE, Washington, D.C., for October 21-22, 2020.

          16.   HANDY also made other lodging arrangements elsewhere in the District of

Columbia for several co-conspirators from Michigan, New York, and Massachusetts.

          17.   Days before October 22, 2020, HANDY called the Clinic, falsely represented that

she was a female named “Hazel Jenkins” who needed reproductive health services, and made an

appointment for 9:00 a.m. on the morning of October 22, 2020.




                                                 4
         Case 1:22-cr-00096-CKK Document 113 Filed 10/14/22 Page 5 of 8




       18.     SMITH, HARLOW, MARSHALL, HINSHAW, IDONI, GOODMAN, BELL, and

GERAGHTY traveled to the District of Columbia from other states.

       19.     On October 22, 2020, before the Clinic was open for services, HANDY approached

Medical Specialist H in the hallway outside the Clinic and falsely represented herself as “Hazel

Jenkins” and stated that she had a medical appointment.

       20.     At 8:56 a.m. on October 22, 2020—shortly after HANDY was claiming to be a

Clinic patient—DARNEL, who was outside of the building in which the Clinic was located, used

his Facebook account to create an event that he titled, “No one dies today.” DARNEL captioned

it, “Starting soon! Tune in!”

       21.     As DARNEL announced an imminent Facebook event, HANDY, SMITH,

HARLOW, MARSHALL, HINSHAW, IDONI, GOODMAN, BELL, and GERAGHTY gathered

in the hallway and stairwell outside of the Clinic’s front door.

       22.     When the Clinic opened for services on October 22, 2020, and Medical Specialist H

unlocked the Clinic’s door to admit patients with scheduled appointments, HANDY, SMITH,

HARLOW, MARSHALL, HINSHAW, IDONI, GOODMAN, BELL, and GERAGHTY forcefully

pushed through the Clinic door into the Clinic’s waiting room.

       23.     When SMITH forcefully backed into the clinic, he caused Nurse K to stumble and

sprain her ankle.

       24.     Once inside the Clinic’s waiting room, HANDY, SMITH, HARLOW,

MARSHALL, HINSHAW, IDONI, GOODMAN, BELL, and GERAGHTY set about blockading

two Clinic doors.

       25.     HANDY directed conspirators on what to do.




                                                 5
            Case 1:22-cr-00096-CKK Document 113 Filed 10/14/22 Page 6 of 8




       26.      HINSHAW and MARSHALL moved chairs in the Clinic’s waiting room to block a

door to the Clinic’s treatment area.

       27.      HARLOW brought with her a duffle bag that contained a chain and rope.

       28.      SMITH, HARLOW, MARSHALL, HINSHAW, and BELL sat in the chairs they

had placed to obstruct passage into the Clinic’s treatment area and chained and roped themselves

together.

       29.      GOODMAN and IDONI went into the hallway outside of the Clinic and stood in

front the doorway of the employee entrance to the Clinic.

       30.      When Patient A arrived at the Clinic lobby for a scheduled reproductive health

service, MARSHALL and other conspirators blocked her from entering the Clinic’s treatment area.

       31.      When Patient A attempted to use the employee entrance in the hall to gain access to

the Clinic’s treatment area, GOODMAN and IDONI blocked Patient A from entering the Clinic.

       32.      HANDY stood at the doorway of the Clinic’s main entrance, and blocked

individuals trying to enter the waiting room.

       33.      GERAGHTY, at times, stood with HANDY at the doorway of the Clinic’s main

entrance blocking access.

       34.      GERAGHTY, at times, stood with GOODMAN and IDONI in front of the Clinic’s

employee entrance blocking access.

       35.      At the same time that the conspirators began blockading the Clinic, DARNEL, who

was standing outside of the Clinic’s building, used Facebook to live-stream a video of the

conspirators’ activities. He started the live-stream by saying, in part, that at that moment, “we have

people intervening physically with their bodies to prevent women from entering the clinic to murder

their children.”



                                                  6
         Case 1:22-cr-00096-CKK Document 113 Filed 10/14/22 Page 7 of 8




       36.     While streaming live on Facebook, DARNEL entered the building and went to the

Clinic’s entrance. As he broadcast the conspirators blockading the entrances to the Clinic,

DARNEL stated, in part, “[T]he rescuers are doing their job. They’re not allowing women to enter

the abortion clinic. As long as they’re in there, no women can go in to kill their children.”

                    (In Violation of Title 18, United States Code, Section 241)


                                       COUNT TWO
                                  18 U.S.C. §§ 248(a)(1), 2
                          (Freedom of Access to Clinic Entrances Act)

       37.     The allegations contained in Paragraphs 1 through 6 and 11 through 36 of this

indictment are realleged and incorporated herein by reference.

       38.     On October 22, 2020, in the District of Columbia and elsewhere, the defendants,

                                      LAUREN HANDY,
                                    JONATHAN DARNEL,
                                        JAY SMITH,
                                    PAULETTE HARLOW,
                                     JEAN MARSHALL,
                                      JOHN HINSHAW,
                                      HEATHER IDONI,
                                    WILLIAM GOODMAN,
                                      JOAN BELL, and
                                     HERB GERAGHTY

aiding and abetting one another, did by force and physical obstruction, intentionally injure,

intimidate, and interfere with, and attempt to injure, intimidate, and interfere with, Patient A and

the employees of the Clinic, because Patient A was obtaining, and the Clinic was providing,

reproductive health services.

             (In Violation of Title 18, United States Code, Sections 248(a)(1) and 2)




                                                 7
      Case 1:22-cr-00096-CKK Document 113 Filed 10/14/22 Page 8 of 8




                                        A TRUE BILL:


                                        FOREPERSON




MATTHEW M. GRAVES
ATTORNEY FOR THE UNITED STATES
IN AND FOR THE DISTRICT OF COLUMBIA



KRISTEN M. CLARKE
ASSISTANT ATTORNEY GENERAL
CIVIL RIGHTS DIVISION




                                    8
